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                                                                 [?/FILED
                          UNITED STATES NTSTMCT COURT                   JUN   t
                          NORTHERN DISTRICT OF ILLINOIS
                                                                                  a   2020

                                EASTERN DIVISION                             G. BHUTON
                                                                 - TLTOMAS
                                                                 ctERK u.s. Dtsrntcf c6unr
 UNITED STATES OF AMERICA
                                            No. 20 CR 263               JUDGE SHATI

                     v.                     Violation: Title 18, United States
                                            Code, Section 922(g) (L)

 JOSEPH HAMMOND                                 MAGISTRAIE JUDGE FUENTES


      The SPECIAL JANUARY 20Lg GRA.ND JURY charges:

      On or about June 3, 2020, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                JOSEPH HAMMOND,

defendant herein, knowing that he had previously been convicted of          a     crime

punishable by a term of imprisonment exceeding one year, did knowingly possess, in

and afflecting interstate and. foreign commerce, a firearm, namely, a loaded Glock,

Mode1 20, 10mm semi-automatic pistol, bearing serial number BDMW734, which

firearm had traveled      in interstate and foreign commerce prior to defendant's
possession of the firearm;

      In violation of Title 18, United States Code, Section 922(d$).
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                           FORFEITURE ALLEGATION

      The SPECIAL JANUARY 2AI9 GRA.ND JURY further alleges:

      1.      Upon conviction of an offense in violation of Title 18, United States Code,

Section 922(g)(l),as set forth in this Indictment, defendant shall forfeit to the United

States of America any firearm and ammunition involved        in and used in the    offense,

as provided   in Title 18, United States Code, Section g24(d)(L), and Title 28, United,

States Code, Section 2461(c).

      2.      The property to be forfeited includes, but is not limited to, a Glock, Model

20, 10mm semi-automatic pistol, bearing serial number BDMW73 4,           and.   associated

ammunition.



                                                       A TRUE BILL:




                                                       FOREPERSON


UNITED STATES ATTORNEY
